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June 6, 2019

Dustin Chao

Christine Wichers

Assistant United States Attorneys
U.S. Courthouse, Suite 9200

1 Courthouse Way

Boston, MA 02210

RE: United States v. Shelley M. Richmond Joseph
Crim. No.: 19-cr-10141-LTS

Dear Counsel:

Pursuant to Local Rule 116.3(a), the defendant Shelley M. Richmond Joseph
requests that the government provide discovery as follows:

I. Pursuant to F. R. Crim. P. 16

1. The government has represented that it has provided or has made available
for inspection any and all written or recorded statements of the defendant pursuant to
Rule 16(a)(1)(A) and (B), any prior criminal record pursuant to Rule 16(a)(1)(D),
documents and tangible objects pursuant to Rule 16(a)(1)(E), and reports of examinations
and tests pursuant to Rule 16(a)(1)(F).

2. The government has agreed to provide notice of any expert witness
testimony pursuant to Rule 16(a)(1)(G) at least thirty (30) days before trial. The
defendant requests that the notice include: (1) the name, address and telephone number of
the witness; (2) the qualifications of the witness; (2) the subject matter of the witness's
opinion; (3) a written summary of the testimony the government intends to proffer at trial
under Fed. R. Evid. 702, 703, or 705 with any such summary describing in detail the
witness's opinion(s), as well as each basis and/or reason therefore.

IL. Pursuant to Local Rule 116.1 and 116.2

3. The defendant Joseph is also confirming that the government has
represented that it has provided any search material pursuant to Local Rule
116.1(c)(1)(B), electronic surveillance pursuant to Local Rule 116.1(c)(1)(C), consensual
interceptions pursuant to Local Rule 116.1(c)(1)(D), unindicted coconspirator

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information pursuant to Local Rule 116.1(c)(1)(E), identifications pursuant to Local Rule
116.1(c)(1)(F), and any exculpatory evidence as required pursuant to Local Rule

116.2((b)(1).

4, Regarding exculpatory evidence (see 116.2(b)(1)(C)), the defendant
Joseph is specifically requesting the following additional discovery regarding certain
witnesses in the government's case-in-chief:

a.

Any oral or written promises made by the United States Attorney’s
Office or any other government agency to “A.S.,” as he is denoted
in the Indictment, regarding: (1) his immigration status — past,
present, or future; (2) his present detention status — that is, why he
is not in custody at present if that is in fact his status; (3) any
intention not to prosecute him for any federal crimes or offenses —
past, present, or future; (3) any intention to facilitate his return to
the Newton District Court to face the pending state charges there.

Any oral or written promises made by the United States Attorney’s
Office or any other government agency to “A.S.,” as he is denoted
in the Indictment, regarding prosecuting or not prosecuting his
family or friends who may have participating in formulating the
so-called conspiracy with the Defense Attorney, as he is denoted in
Paragraph 26 of the Indictment.

Any oral or written promises made by the United States Attorney’s
Office or any other government agency to the Defense Attorney, as
he is denoted in Paragraph 26 of the Indictment, as to whether
there is any intention to prosecute the Defense Attorney for his role
as a Co-Conspirator in establishing an initial agreement with the
court officer (apparently preceding any contact with the defendant
Joseph) that the court officer would use his security access card to
release A.S. out the rear sally-port exit in order for A.S. to evade
detainment by the ICE Office at the NDC Courthouse — and
facilitating the agreement’s completion.

Any oral or written promises by the United States Attorney’s
Office or any other government agency to the Defense Attorney as
to whether or not the United States Attorney’s Office or any
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government agency will report the Defense Attorney to the
Massachusetts Board of Bar Overseers for his role as a Co-
Conspirator in establishing an initial agreement with the court
officer (apparently preceding any contact with the defendant
Joseph) for the court officer to use his security access card to
release A.S. out the rear sally-port exit in order for A.S. to evade
detainment by the ICE Office at the NDC Courthouse.

Any information in whatever form (whether by grand jury
testimony or by proffer) that tends to cast doubt on the claim in
Paragraph 11 of the Indictment that “If a defendant was released
from custody, the normal custom and practice in NDC was for the
Court Officer to release the defendant from the glass dock on the
first floor and out into the Courtroom, which had one public
entry/exit that led to the NDC lobby.” See United States v.
O’Brien, 2013 WL 1057929 (Sorokin, M.J.) (D. Mass. 2013).

iI. Particulars of Allegations

Pursuant to L.R. 116.3(e), please provide the following particulars related to the
allegations in the indictment:

5. With respect to Paragraph 30 of the Indictment:

a.

Please describe the manner and means of the alleged agreement,
that is, during the 52 second, off-the-record conversation what
precisely the Defense Attorney is alleged to have stated to the
Defendant Joseph and what precisely the Defendant Joseph is
alleged to have stated to the Defense Attorney to give rise to the
supposed agreement.

Similarly, please describe precisely what the ADA is alleged to
have stated to the Defendant Joseph and to the Defense Attorney,
and precisely what each said in response to the ADA during the
same 52 second, off-the-record conversation.

In the alternative, please provide any Jencks material regarding the
Defense Attorney and the ADA.
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IV. Other Requests for Discovery

Although the current version of the local discovery rules for this District does not
mandate that the government must produce certain forms of exculpatory discovery or so-
called Jencks material until 21 days before trial, that is not the practice in all federal
jurisdictions, for example by the United States Attorney’s Office for New Hampshire.
Rather, in an effort to assure that a defendant has a full, fair and adequate opportunity to
prepare for trial, these United States Attorney’s Offices have required that all discovery,
not just certain discovery, be provided to the defense shortly after arraignment
(approximately 30 days) — in the same manner as the Massachusetts state courts. Their
laudable goal is to avoid the problem articulated in Owens (“The failure to provide full
disclosure of the government’s case early in the proceeding limits a defendant’s ability to
investigate the background and character of government witnesses and the veracity of
their testimony.”) United States v. Owens, 933 F. Supp. 76 (D. Mass. 1996). The goal in
these jurisdictions is to avoid unequal parity in preparation — especially where the United
States Attorney’s Office investigated this matter for a year prior to indictment — but
where this United States Attorney’s Office may intend to withhold critical information
until that meager twenty-one days before trial — necessitating a rush of preparation by the
defense — rather than the full and fair opportunity that due process requires. See United
States vy. Snell, 899 F. Supp. 17 (D. Mass. 1995). See also, Berger v. United States, 295
U.S. 78 (1935) (“The United States Attorney is the representative not of an ordinary party
to a controversy, but of a sovereignty whose obligation to govern impartially is as
compelling as its obligation to govern at all; and whose interest, therefore, in a criminal
prosecution is not that it shall win a case, but justice shall be done.”). Curiously, this
United States Attorney’s Office has often provided full, even open file, discovery long
before the 21 day mark in various criminal cases.

The United States Attorney in this particular case has publicly claimed, perhaps
more often than he should (S.J.C. Rule 3:07 RPC 3.6), via post-indictment press
conferences, television appearances and speaking engagements, that this case is not about
politics but “the rule of law.” Consistent with those multiple pronouncements, and given
the unprecedented nature of this Indictment, we assume that he and his office would
therefore support (and he himself would order) a fair, pretrial process, permitting not just
cursory preparation for the defense in determining as to whether any laws have been
actually broken but a full and open hearing and trial of that issue — a process which by
necessity, as any trial lawyer knows, requires voluntary, early, full disclosure of all
relevant materials. By early, since we are well beyond the thirty-day mark post-
indictment, any experienced trial lawyer would mean forthwith.
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Moreover, it would seem all the more important for this United States Attorney’s
Office to provide early discovery given that, despite the post-indictment protestations of
this prosecution being non-political, the United States Attorney himself, just 120 or so
days before this Indictment, was quoted as stating — at yet another, live press conference
in a slightly different context — “’I have no plans to prosecute judges,’ Lelling said.”
Maria Cramer, MS-13 ‘all but eradicated’ US Attorney says, Boston Globe, (Dec. 12,
2018, 9:20 PM). This completely contradictory claim appears to have been made some
five weeks after his staff had already interviewed their key witness, the uncharged
defense attorney. The public, as well as the defendant, deserve a full and fair hearing to
determine the true nature of the case. The best way to assure that full and fair hearing is
to provide all exculpatory evidence and Jencks material now so that the defense has an
equal amount of time to prepare. Surely this is not a game.

With that in mind, we therefore make a general request that all discovery be
provided forthwith including the exculpatory discovery categories listed in Local Rule
116.2(b)(2)(A)-(G) and so-called Jencks materials (grand jury minutes and other
statements) listed in Local Rule 117.1(a)(5).

6. More particularly, as to exculpatory materials, we request that the
following be produced forthwith:

a. Given that the government apparently intends to call at trial one or
more ICE officers, we request any evidence or communications
demonstrating bias by ICE, either by the individual witnesses or by
the ICE hierarchy which may have been communicated to the
individual witnesses directly or indirectly.

b. Given that the government apparently intends to call one or more
ICE officers, we request any evidence or communications
indicating that ICE officials or officers have been, or may have
been, responsible for leaking grand jury information to the press in
violation of Fed. R. Crim. P. 6(e). See Andrea Estes and Maria
Cramer, Judge’s role under investigation after immigrant evades
ICE, Boston Globe, Dec. 2, 2018 at All and/ or Andrea Estes,
Shelley Murphy and Maria Cramer, Indicted Newton judge
declined plea deal, Boston Globe, May 24, 2019 at Al.

7. Additionally, the defendant Joseph requests for the purpose of
properly evaluating, preparing and/or presenting a motion for severance:
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a. Any grand jury testimony or other statements by either the Defense
Attorney or ADA as to any statements allegedly made by the
defendant Joseph during the 52 seconds that the NDC tape was
turned off;
b. Any grand jury testimony or other statements (oral or written)

made by the defendant MacGregor to any person as to any reasons
as to why he sent A.S. out the sally-port exit.

8. Further, the defendant Joseph requests the preservation and production of any
notes taken by government agents and counsel during interviews of government
witnesses.

9. Further, given that the defense expects to raise serious and significant legal issues
regarding the nature of the offenses charged in the Indictment as applied to the facts of
this case, the defendant Joseph requests any instructions given the grand jury concerning
the elements of each of these offenses.

10. Finally, the defendant Joseph requests notice of the government's intention to use
the Residual Hearsay Exception under Fed. R. Evid. 807. That is, the defendant requests
that the government provide notice of any intent to offer a statement, not specifically
covered by the hearsay exceptions set forth in Fed. R. Evid. 803(1)-(23) and 804(b)(1)-
(4), but allegedly having equivalent circumstantial guarantees of trustworthiness and to
further provide notice of the particulars of any such statement, including the name and
address of the declarant.

The defendant Joseph reserves the right to supplement these requests, particularly
upon receipt after the date of this letter of any additional automatic discovery from the

government.

Thank you in advance for your assistance.
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Sincerely,

/s/ Thomas M. Hoopes
THOMAS M. HOOPES, ESQ.

DOUGLAS S. BROOKS, ESQ.
